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 1                                                            The Honorable Richard A. Jones
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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,                       NO. CR18-131-RAJ
 8
                        Plaintiff,                    ORDER GRANTING
 9                                                    DEFENDANT’S MOTION
              v.                                      TO SEAL IN PART
10
      JEROME RAY WILSON,
11
                         Defendant.
12

13
            This matter comes before the Court on Defendant Jerome Ray Wilson’s Motion to
14
     Seal Compassionate Release Motion and Exhibits.
15
            The Court has reviewed the motion and records in this case and finds good cause
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     has been shown to permit the filing under seal of Defendant’s wife’s medical records due
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     to the sensitive information contained therein. Court staff has communicated with
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     counsel for Defendant, who represented there was no objection to the sealing of these
19   exhibits only.
20          IT IS HEREBY ORDERED that Defendant’s Motion to Seal (Dkt. #1473) is
21   GRANTED IN PART. The medical records of Defendant’s wife filed in connection with
22   Defendant’s Motion for Compassionate Release shall remain under seal.
23          DATED this 21st day of October, 2020.
24

25
                                                     A
                                                     The Honorable Richard A. Jones
                                                     United States District Judge
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     ORDER GRANTING MOTION TO SEAL IN PART - 1
     UNITED STATES v. WILSON
     CR18-131RAJ
